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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

UCB , INC~ , UCB BIOPHARMA SPRL,                    )
RESEARCH CORPORATION                                )
TECHNOLOGIES , INC . AND HARRIS                     )
FRC CORPORATION,                                    )
                                                    )
                       Plaintiffs,                  )   C.A. No 13-1206-LPS
                                                    )   CONSOLIDATED
               v.                                   )
                                                    )
ACCORD HEALTHCARE, INC. , et al. ,                  )
                                                    )
                       Defendants.
                               [PR,QPO~JUDGMENT


       This action, having been tried before the Court from November 9 through November 13,

2015 , Honorable Leonard P. Stark, Chief District Judge presiding, the evidence and testimony of

witnesses of each side having been heard and a decision having been rendered:
                                                                   1>         £t~'btr
       IT IS HEREBY ORDERED AND ADJUDGED this _                         day of ~2016, for the

reasons set forth in the Opinion dated August 12, 2016 (D.I. 313) that:

       Accord Defendants

       1.      Judgment is entered in favor of Plaintiffs UCB , Inc. , UCB BioPharma SPRL,

Research Corporation Technologies, Inc. and Harris FRC Corporation (collectively, "Plaintiffs")

and against defendants Accord Healthcare, Inc. and lntas Pharmaceuticals Ltd. (collectively,

"Accord") on Plaintiffs ' claim that the commercial manufacture, use, offer for sale, sale, and/or

importation into the United States of the proposed generic lacosamide product that is the subject

of Accord ' s Abbreviated New Drug Application ("ANDA") No . 205011 would infringe claims

9, 10, and 13 of U.S. Reissued Patent No . RE 38,551 (the "' 551 Patent").

       2.      Judgment is entered in favor of Plaintiffs and against Accord on Accord ' s

counterclaim for invalidity of claims 9, 10, and 13 of the ' 5 51 Patent.
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        3.       Pursuant to 35 U.S.C. § 27l(e)(4)(A), it is hereby ordered that the effective date

of any final approval by the Food and Drug Administration ("FDA") of Accord ' s ANDA No.

2050 11 is to be a date not earlier than the date of expiration of the ' 551 Patent inclusive of the

patent term extension granted under 35 U.S.C. § 156 (March 17, 2022).

        4.       Pursuant to 35 U.S.C. § 27l(e)(4)(B), Accord and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or

importing into the United States, Accord 's proposed generic lacosamide product that is the

subject of Accord's ANDA No. 205011 during the term of the ' 551 Patent.

        Alembic

        5.       Judgment is entered in favor of Plaintiffs and against defendant Alembic

Pharmaceuticals Ltd. ("Alembic") on Plaintiffs ' claim that the commercial manufacture, use,

offer for sale, sale, and/or importation into the United States of the proposed generic lacosamide

product that is the subject of Alembic ' s ANDA No. 204974 would infringe claims 9, 10, and 13

of the ' 5 51 Patent.

        6.       Pursuant to 35 U.S.C. § 27l(e)(4)(A), the FDA is ordered to reset the effective

date of the approval of Alembic ' s ANDA No . 204974 to be a date that is not earlier than the date

of expiration of the '551 Patent inclusive of the patent term extension granted under 35 U .S.C.

§ 156 (March 17, 2022).

        7.       Pursuant to 35 U.S.C. § 27l(e)(4)(B), Alembic and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby




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enjoined from manufacturing, usmg, offering to sell , or selling within the United States, or

importing into the United States, Alembic ' s proposed generic lacosamide product that is the

subject of Alembic ' s ANDA No. 204974 during the term of the ' 551 Patent.

          Amneal Defendants

          8.    Judgment is entered m favor of Plaintiffs and against defendants Amneal

Pharmaceuticals, LLC and Amneal Pharmaceuticals of New York, LLC (collectively, "Amneal")

on Plaintiffs' claim that the commercial manufacture, use, offer for sale, sale, and/or importation

into the United States of the proposed generic lacosamide products that are the subject of

Amneal ' s ANDAs Nos. 204839 and 204857 would infringe claims 9, 10, and 13 of the '551

Patent.

          9.    Judgment is entered in favor of Plaintiffs and against Amneal on Amneal ' s

counterclaim for invalidity of claims 9, 10, and 13 ofthe ' 551 Patent.

          10.   Pursuant to 35 U.S.C. § 271 (e)(4)(A), the FDA is ordered to reset the effective

date of the approval of Amneal ' s AND As Nos . 204839 and 204857 to be a date that is not earlier

than the date of expiration of the ' 551 Patent inclusive of the patent term extension granted under

35 U.S.C. § 156 (March 17, 2022). It is further ordered that the effective date of any final

approval by the FDA of Amneal ' s ANDAs Nos. 204839 and 204857 is to be a date not earlier

than the date of expiration of the ' 551 Patent inclusive of the patent term extension granted under

35 U.S.C. § 156 (March 17, 2022).

          11.   Pursuant to 35 U.S.C. § 271(e)(4)(B), Amneal and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or




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importing into the United States, Amneal ' s proposed generic lacosamide products that are the

subjects of Amneal ' s ANDAs Nos. 204839 and 204857 during the term of the ' 551 Patent.

       Apotex Defendants

       12.     Judgment is entered in favor of Plaintiffs and against defendants Apotex Corp.

and Apotex, Inc. (collectively, "Apotex") on Plaintiffs ' claims that the commercial manufacture,

use, offer for sale, sale, and/or importation into the United States of the proposed generic

lacosamide products that are the subjects of Apotex ' s ANDAs Nos. 204986 and 206355 would

infringe claims 9, 10, and 13 of the ' 551 Patent.

       13.     Judgment is entered in favor of Plaintiffs and against Apotex on Apotex' s

counterclaims for invalidity of claims 9, 10, and 13 of the ' 551 Patent.

        14.    Pursuant to 35 U.S .C. § 27l (e)(4)(A), it is hereby ordered that the effective date

of any final approval by the FDA of Apotex' s ANDAs Nos. 204986 and 206355 is to be a date

not earlier than the date of expiration of the '5 51 Patent inclusive of the patent term extension

granted under 35 U.S.C. § 156 (March 17, 2022).

       15.     Pursuant to 35 U.S.C. § 27l (e)(4)(B), Apotex and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell , or selling within the United States, or

importing into the United States, Apotex' s proposed generic lacosamide products that are the

subjects of Apotex ' s ANDAs Nos. 204986 and 206355 during the term of the ' 551 Patent.

       Aurobindo Defendants

       16.     Judgment is entered m favor of Plaintiffs and against defendants Aurobindo

Pharma Ltd . and Aurobindo Pharma USA, Inc . (collectively, "Aurobindo") on Plaintiffs ' claim




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that the commercial manufacture, use, offer for sale, sale, and/or importation into the United

States of the proposed generic lacosamide product that is the subject of Aurobindo ' s ANDA No.

204994 would infringe claims 9, 10, and 13 of the ' 551 Patent.

       17.     Judgment is entered in favor of Plaintiffs and against Aurobindo on Aurobindo ' s

counterclaim for invalidity of claims 9, 10, and 13 of the ' 551 Patent.

       18.     Pursuant to 35 U.S .C. § 27l(e)(4)(A), the FDA is ordered to reset the effective

date of the approval of Aurobindo ' s ANDA No. 204994 to be a date that is not earlier than the

date of expiration of the ' 551 Patent inclusive of the patent term extension granted under

35 U.S .C. § 156 (March 17, 2022).

       19.     Pursuant to 35 U.S.C. § 27l(e)(4)(B), Aurobindo and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or

importing into the United States, Aurobindo ' s proposed generic lacosamide product that is the

subject of Aurobindo ' s ANDA No . 204994 during the term of the ' 551 Patent.

       Breckenridge Defendants

       20.     Judgment is entered in favor of Plaintiffs and against defendants Breckenridge

Pharmaceutical, Inc. and MSN Laboratories Pvt. Ltd. (collectively, "Breckenridge") on

Plaintiffs ' claim that the commercial manufacture, use, offer for sale, sale, and/or importation

into the United States of the proposed generic lacosamide product that is the subject of

Breckenridge ' s ANDA No. 204921 would infringe claims 9, 10, and 13 of the '551 Patent.

       21.     Judgment is entered in favor of Plaintiffs and against Breckenridge on

Breckenridge' s counterclaim for invalidity of claims 9, 10, and 13 of the '551 Patent.




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       22.     Pursuant to 35 U.S.C. § 271 (e)(4)(A), the FDA is ordered to reset the effective

date of the approval of Breckenridge' s ANDA No . 204921 to be a date that is not earlier than the

date of expiration of the ' 551 Patent inclusive of the patent term extension granted under

35 U.S.C. § 156 (March 17, 2022).

       23.     Pursuant to 35 U.S.C. § 271(e)(4)(B), Breckenridge and its officers, agents,

servants, employees, and attorneys, and those persons in active concert or participation with

them who receive actual notice of this Final Judgment by personal service or otherwise, are

hereby enjoined from manufacturing, using, offering to sell, or selling within the United States,

or importing into the United States, Breckenridge' s proposed generic lacosamide product that is

the subject of Breckenridge' s ANDA No . 204921 during the term of the ' 551 Patent.

       Mylan Defendants

       24.     Judgment is entered in favor of Plaintiffs and against defendants Mylan

Pharmaceuticals Inc. and Mylan, Inc. (collectively, "Mylan") on Plaintiffs ' claim that the

commercial manufacture, use, offer for sale, sale, and/or importation into the United States of the

proposed generic lacosamide product that is the subject of Mylan ' s ANDA No. 205026 would

infringe claims 9, 10, and 13 of the '551 Patent.

       25 .    Judgment is entered in favor of Plaintiffs and against Mylan on Mylan ' s

counterclaim for invalidity of claims 9, 10, and 13 of the ' 551 Patent.

       26.     Pursuant to 35 U.S.C. § 271(e)(4)(A), the FDA is ordered to reset the effective

date of approval of Mylan ' s ANDA No. 205026 to a date that is not earlier than the date of

expiration of the ' 55 1 Patent inclusive of the patent term extension granted under 35 U.S.C.

§ 156 (March 17, 2022).




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       27.     Pursuant to 35 U.S.C. § 271(e)(4)(B), Mylan and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or

importing into the United States, Mylan ' s proposed generic lacosamide product that is the

subject ofMylan 's ANDA No. 205026 during the term of the ' 551 Patent.

       Sun Defendants

       28.     Judgment is entered in favor of Plaintiffs and against defendants Sun Pharma

Global FZE and Sun Pharmaceutical Industries, Ltd. (collectively, " Sun") on Plaintiffs ' claim

that the commercial manufacture, use, offer for sale, sale, and/or importation into the United

States of the proposed generic lacosamide product that is the subject of Sun ' s ANDA No.

205031 would infringe claims 9, 10, and 13 of the ' 551 Patent.

       29.     Judgment is entered in favor of Plaintiffs and against Sun on Sun ' s counterclaim

for invalidity of claims 9, 10, and 13 of the '5 51 Patent.

       30.     Pursuant to 35 U.S.C . § 27l(e)(4)(A), the FDA is ordered to reset the effective

date of the approval of Sun ' s ANDA No. 205031 to be a date that is not earlier than the date of

expiration of the '551 Patent inclusive of the patent term extension granted under 35 U.S.C.

§ 156 (March 17, 2022).

       31.     Pursuant to 35 U.S.C . § 27l(e)(4)(B), Sun and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or




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importing into the United States, Sun ' s proposed generic lacosamide product that is the subject

of Sun ' s ANDA No . 205031 during the term of the ' 551 Patent.

       Actavis Defendants

       32.     Judgment is entered in favor of Plaintiffs and against defendants Watson

Laboratories, Inc . - Florida (n/k/a Actavis Laboratories FL, Inc.), Watson Pharma, Inc. (n/k/a

Actavis Pharma, Inc.), and Actavis, Inc. (collectively, "Actavis") on Plaintiffs ' claim that the

commercial manufacture, use, offer for sale, sale, and/or importation into the United States of the

proposed generic lacosamide product that is the subject of Actavis ' s ANDA No. 204855 would

infringe claims 9, 10, and 13 of the ' 551 Patent.

       33 .    Judgment is entered in favor of Plaintiffs and against Actavis on Actavis' s

counterclaim for invalidity of claims 9, 10, and 13 of the ' 551 Patent.

       34.     Pursuant to 35 U.S.C. § 271(e)(4)(A), the FDA is ordered to reset the effective

date of the approval of Actavis' s ANDA No. 204855 to be a date that is not earlier than the date

of expiration of the ' 551 Patent inclusive of the patent term extension granted under 35 U .S.C.

§ 156 (March 17, 2022).

       35.     Pursuant to 35 U.S.C. § 271(e)(4)(B), Actavis and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or

importing into the United States, Actavis ' s proposed generic lacosamide product that is the

subject of Actavis ' s ANDA No . 204855 during the term of the ' 551 Patent.




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       Zydus Defendants

       36.     Judgment is entered in favor of Plaintiffs and against defendants Zydus

Pharmaceuticals (USA) Inc. and Cadila Healthcare Limited (collectively, "Zydus") on Plaintiffs '

claim that the commercial manufacture, use, offer for sale, sale, and/or importation into the

United States of the proposed generic lacosamide product that is the subject of Zydus ' s ANDA

No. 204947 would infringe claims 9, 10, and 13 of the ' 551 Patent.

       37.     Judgment is entered in favor of Plaintiffs and against Zydus on Zydus' s

counterclaim for invalidity of claims 9, 10, and 13 of the ' 551 Patent.

       38.     Pursuant to 35 U.S.C. § 271 (e)(4)(A), it is hereby ordered that the effective date

of any final approval of Zydus ' s ANDA No. 204947 is to be a date that is not earlier than the

date of expiration of the ' 551 Patent inclusive of the patent term extension granted under

35 U.S.C. § 156 (March 17, 2022).

       39.     Pursuant to 35 U.S.C. § 271 (e)(4)(B), Zydus and its officers, agents, servants,

employees, and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Final Judgment by personal service or otherwise, are hereby

enjoined from manufacturing, using, offering to sell, or selling within the United States, or

importing into the United States, Zydus ' s proposed generic lacosamide product that is the subject

of Zydus ' s ANDA No. 204947 during the term of the ' 551 Patent.




                                                         UNJTEb STATES DISTRICT JUDGE




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